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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



  STATE OF NEW JERSEY,

                             Plaintiff,

                    v.                                           Civil Case No. 2:23-cv-03885

   UNITED STATES DEPARTMENT OF
   TRANSPORTATION, FEDERAL HIGHWAY
   ADMINISTRATION, SHAILEN BHATT, in his official
   capacity as Administrator of the Federal Highway
   Administration, and RICHARD J. MARQUIS, in his official
   capacity as Division Administrator of the New York Division
   of the Federal Highway Administration,

                             Defendants,

       and

  METROPOLITAN TRANSPORTATION AUTHORITY and
  TRIBOROUGH BRIDGE AND TUNNEL AUTHORITY,

                              Defendant-Intervenors.



            PLAINTIFF STATE OF NEW JERSEY’S OPPOSITION
           TO THE FHWA’S REMAND DECISION AND COMMENTS
  RESPONDING TO THE FHWA’S NOTICE AND SUPPLEMENTAL MEMORANDUM
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                                   PRELIMINARY STATEMENT

         When this Court granted New Jersey summary judgment in part, it expressly ruled that the

 “FHWA and Project Sponsors acted in an arbitrary and capricious manner in reaching their

 mitigation determination in the Final EA and FONSI.” ECF No. 191 at 52. This Court further

 explained that there are “areas in New Jersey entitled to mitigation,” and that the Final EA and

 FONSI “provide[] no insight” for the “apparent disparate treatment” between New Jersey and New

 York communities—specifically, the FHWA did not explain “why areas in New Jersey with

 similarly high pre-existing burdens” as the Bronx “did not receive place-based mitigation

 commitments.” Id. at 50–53. As a result, this Court was compelled to remand this matter to the

 FHWA to address the agency’s “fail[ure] to provide a rational connection between the general

 mitigation commitments outlined and the specific resolution of any and all significant impacts that

 may result from the Program.” Id. at 53. The FHWA’s response to that remand mandate is no

 response at all. Rather, the FHWA continues to rubber-stamp a woefully inadequate

 environmental review that is arbitrary and capricious when it comes to the many “areas of New

 Jersey entitled to mitigation” here. 1

         Moreover, this Court directed the parties to address two issues on which it reserved

 judgment: (1) the adequacy of FHWA’s alternatives analysis, which resulted in the agency

 considering no alternative other than the congestion pricing scheme after it eliminated multiple

 alternatives solely based on their failure to meet a revenue-raising objective; and (2) the adequacy



 1
  While New Jersey’s comments are directed to the Court in accordance with the Court’s December
 30, 2024 decision, New Jersey respectfully submits that where a court remands an administrative
 decision to an agency, the proceeding should be left in the hands of the agency to reconsider its
 decision and, should the agency reach the same decision after consideration of comments like those
 herein, that decision may be challenged before a court with full consideration of any agency
 deliberations and decisions reached during the remand proceeding. See Delta Air Lines, Inc. v.
 Exp.-Imp. Bank of the U.S., 718 F.3d 974, 978 (D.C. Cir. 2013).
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 of the Final EA and FONSI in light of the subsequent changes to the tolling scheme by the

 MTA. Id. at 14 n.7, 62. On these issues as well, the FHWA offers no rational explanation for

 continuing to greenlight this project without considering additional alternatives, or the actual

 tolling scheme that was ultimately implemented.

        The FHWA has now issued its Supplemental Memorandum, which utterly fails to correct

 the deficiencies identified by this Court. It also fails to explain how the agency’s alternatives

 analysis could still be lawful under NEPA or how its original assessment approving a tolling

 program expected to generate more than $1 billion per year back in 2023 could still be valid when

 it never even considered the phased-in, scaled-back tolling scheme that the MTA ultimately

 adopted. Indeed, the FHWA’s Supplemental Memorandum includes no new environmental

 analysis, no new consideration of alternatives, and no new mitigation commitments to any New

 Jersey communities besides the pittance that was afforded in the June 14, 2024, re-evaluation (“Re-

 Evaluation 1”). Rather, the FHWA merely reiterates the agency’s arbitrary and capricious analysis

 and reaffirms its irrational conclusions endorsed in the Final EA, FONSI, Re-Evaluation 1, and

 November 21, 2024, re-evaluation (“Re-Evaluation 2”). This Court must therefore “hold unlawful

 and set aside” the FHWA’s Final EA and FONSI, and order the FHWA to prepare a comprehensive

 EIS. 5 U.S.C § 706(2)(A) & (D); see also Am. Pub. Gas Ass’n v. U.S. Dep’t of Energy, 72 F.4th

 1324, 1343 (D.C. Cir. 2023) (agency’s “failure to comply with [a] remand order … counsels

 toward vacatur, since it has yet again come up with insufficient support”).

        An agency’s “commitment” to “enforceable” mitigation measures to be undertaken to

 avoid significant impacts likely to result from a project is the most critical aspect of a mitigated

 FONSI. 40 C.F.R. § 1501.6(d). Indeed, a mitigated FONSI can “only” be issued “if the agency

 finds that the changes or safeguards in the project sufficiently reduce the impact to a




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 minimum.” Town of Cave Creek v. FAA, 325 F.3d 320, 327 (D.C. Cir. 2003) (citation omitted).

 Otherwise, “[a]n EIS must be prepared” because “there are ‘substantial questions’ regarding

 whether an agency’s proposed action may have significant impacts.” Env’t Def. Ctr. v. Bureau of

 Ocean Energy Mgmt., 36 F.4th 850, 878–79 (9th Cir. 2022), cert. denied sub nom, Am. Petroleum

 Inst. v. Env’t Def. Ctr., 143 S.Ct. 2582 (2023) (emphasis added).

        On remand, the FHWA notes that following its issuance of the Final EA and FONSI, which

 committed no mitigation funding to New Jersey at all, de minimis mitigation funding has since

 been committed to just four New Jersey communities in Re-Evaluations 1 and 2. But that paltry

 funding commitment did nothing to remedy the FHWA’s arbitrary and capricious approach to

 mitigation. Indeed, it simply confirms that the Final EA and FONSI are unlawful under NEPA

 because, as the FHWA’s own analysis acknowledged, significant impacts will likely occur in New

 Jersey that will not be reduced to a level of insignificance through mitigation measures.

        The FHWA’s approach on remand violates Section 706(2)(A) of the APA for four key

 reasons: First, the FHWA has continued to accept the MTA’s self-imposed $100 million cap on

 place-based mitigation in the Final EA and FONSI—a cap set before analyzing the significant

 impacts resulting from this congestion pricing scheme and the costs necessary to address those

 impacts anywhere they will occur. The MTA has worked backwards from its arbitrary cap,

 cabining the communities eligible, and then distributing funds within that capped pool based on

 population size, rather than the severity of the impacts on each community likely to be adversely

 affected by this congestion pricing scheme. See DOT_0037018; DOT_0045609; FHWA-0000017.

 That is the antithesis of what NEPA requires when an agency issues a mitigated FONSI because it

 fails to ensure that all communities likely to be adversely affected will receive enough funding to

 sufficiently mitigate significant impacts.   Importantly, this is a one-time-only $100-million




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 mitigation pool; it will not recur or be adjusted year-after-year, so there will be no future remedy

 for the harms that befall so many New Jersey communities from this misguided approach. See,

 e.g., DOT_0045608 (“[T]he Project Sponsors . . . commit[] a total of $100M to place-based

 mitigation measures.”); FHWA-0000014 (adaptive management approach is limited to

 “determin[ing] the specific sites for the five Place-Based Mitigation measures”). Second, the

 FHWA never “adequately explain[ed]” how the mitigation measures available to a subset of New

 Jersey’s communities would reduce to a level of insignificance “any and all significant impacts”

 on any and all New Jersey communities likely to be adversely affected by this congestion pricing

 scheme. ECF No. 191 at 53; see Public Citizen, Inc. v. FAA, 988 F.2d 186, 197 (D.C. Cir.

 1993). Third, the FHWA did not adequately explain why it allocated place-based mitigation

 funding to only four New Jersey communities when it identified fifteen New Jersey environmental

 justice communities with pre-existing air pollution or chronic disease levels above the 90th

 percentile that “may need mitigation” because they will likely experience increases in truck

 volume and air pollution. DOT_0007319–20. Indeed, it is simply irrational to say that only

 environmental justice communities in the 90th percentile in both air pollution and chronic disease

 get any mitigation funding at all, while communities falling into only one of those two extremes

 get nothing, no matter how severe the adverse impacts on those already distressed areas. FHWA-

 0000005. Finally, the FHWA still has not adequately explained why the Bronx gets such a

 disproportionate amount of this capped $100 million—more than $70 million—while the four New

 Jersey communities eligible for mitigation funding get only $9.8 million combined. The FHWA’s

 own analysis acknowledged that Bergen County will experience increased adverse impacts from

 congestion pricing two to four times worse than the Bronx, yet the FHWA allocated only $1.4




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 million in mitigation funding for one community there (Fort Lee).               See DOT_0045609;

 DOT_0045462.

        The FHWA’s Supplemental Memorandum also shows that the agency never undertook the

 “meaningful alternatives analysis” required by NEPA. Friends of Cap. Crescent Trail v. Fed.

 Transit Admin., 877 F.3d 1051, 1063 (D.C. Cir. 2017) (citing 42 U.S.C. §§ 4332(C)(iii), (E)). In

 the Final EA and FONSI, the FHWA refused to consider any alternative other than congestion

 pricing because those other alternatives supposedly would not satisfy the project’s principal

 objective to “generate sufficient annual net revenues to fund $15 billion for capital projects for

 MTA’s Capital Program,” which meant that it had to “provide at least $1 billion annually in total

 net revenue.” DOT_0036267, DOT_0036300. On this basis alone, the FHWA dismissed three

 otherwise viable alternatives. Yet after the FHWA issued its Final EA and FONSI, the MTA

 approved a $15 tolling scheme that would generate only $0.9 billion in annual

 revenue. DOT_0045449. Then, after voluntarily pausing the implementation of congestion

 pricing for several months to get past the November election, the MTA approved a different

 phased-in tolling scheme, which would generate even less revenue—$0.5 billion annually for the

 first three years and $0.7 billion annually for the next three. DOT_0047555. While the FHWA

 claimed that the revenue objective would still somehow be met under the phased-in tolling

 scheme—a conclusion based only on the MTA’s say-so yet belied by the admission of an initial

 40% decrease in revenue generation—it is now clear that the agency simply rubber-stamped a

 tolling scheme that does not comply with the project’s primary objective, even though the FHWA

 relied on that objective in the Final EA and FONSI to conclude that congestion pricing was the

 only viable alternative. Yet the agency never revisited its alternatives analysis, and its decision to




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 dismiss other alternatives based on non-compliance with a revenue objective that the tolling

 scheme itself does not satisfy violates Section 706(2)(A) of the APA.

        Finally, the Supplemental Memorandum shows that the FHWA never assessed—and still

 hasn’t assessed—the environmental impacts of the phased-in tolling scheme that was actually

 adopted by the MTA and is now being implemented in Manhattan’s Central Business District

 (“CBD”). That tolling scheme significantly differs from the seven schemes evaluated in the Final

 EA. Indeed, it is premised on different phase-in pricing, imposes different peak tolling hours and

 crossing credits, incorporates an entirely new per-ride approach to tolling taxis and for-hire

 vehicles (“FHVs”), permits gridlock enhanced pricing, and only tolls vehicles that enter the CBD

 (rather than those that enter or remain in the CBD). Each of these changes has important

 implications on traffic diversions and thus environmental impacts, which should have been

 evaluated by FHWA. NEPA requires each agency to continue to take a “hard look” at the

 environmental effects of its planned action even after it grants initial approval. Marsh v. Or. Nat.

 Res. Council, 490 U.S. 360, 374 (1989); 42 U.S.C. §§ 4321 et seq. Yet neither the 10-page

 Re-Evaluation 2 nor the Supplemental Memorandum—the only two documents prepared by the

 agency after the MTA adopted the phased-in tolling scheme that is currently operative—include

 any environmental analysis of the actual tolling scheme. And the FHWA never provided an

 opportunity for the public to comment on this scheme prior to its decision.

        The FHWA’s rushed decision to rubber-stamp this first-of-its-kind tolling scheme without

 the environmental review required under NEPA cannot stand. This Court already gave the FHWA

 and MTA the extraordinary opportunity to proceed with this unprecedented scheme even after the

 matter had been remanded. The FHWA has now squandered that opportunity, failing to provide

 any rational explanation on any of the issues remanded by this Court. The FHWA and MTA must




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 do the full environmental review that federal law requires. This Court should therefore now vacate

 the Final EA and FONSI and order the FHWA to complete a full environmental review, including

 a comprehensive EIS.

                                        LEGAL STANDARD

        The adequacy of agency action on remand is governed by the same APA and NEPA

 standards as the original action. See, e.g., City of Port Isabel v. FERC, 111 F.4th 1198, 1206–07

 (D.C. Cir. 2024); see generally ECF No. 136 at 18–21. Under the APA, the Court must “hold

 unlawful and set aside” an agency action that is “arbitrary, capricious, an abuse of discretion, or

 otherwise not in accordance with law,” or undertaken “without observance of procedure required

 by law.” 5 U.S.C § 706(2)(A), (D). Compliance with NEPA is reviewed under this same standard.

 Twp. of Bordentown v. FERC, 903 F.3d 234, 248 (3d Cir. 2018). NEPA’s hard-look requirement

 prescribes an in-depth EIS unless the agency concludes that the project will not have a significant

 environmental impact and issues a FONSI. See Del. Dep’t of Nat. Res. & Env’t Control v. U.S.

 Army Corps of Eng’rs, 685 F.3d 259, 269–70 (3d Cir. 2012). An agency can issue a mitigated

 FONSI only if it “state[s] the enforceable mitigation requirements or commitments that will be

 undertaken” to avoid significant impacts. 40 C.F.R. § 1501.6(d); see also Town of Cave Creek,

 325 F.3d at 327 (“[Where a project will result in] impact[s] of true significance, preparation of an

 EIS can be avoided only if the agency finds that the changes or safeguards in the project sufficiently

 reduce the impact to a minimum.”); Env’t Def. Ctr., 36 F.4th at 878–79. NEPA also requires

 agencies to consider reasonable alternatives to the proposed action. See, e.g., Citizens Against

 Burlington, Inc. v. Busey, 938 F.2d 190, 194 (D.C. Cir. 1991); Twp. of Belleville v. Fed. Transit

 Admin., 30 F. Supp. 2d 782, 798 (D.N.J. 1998) (citing 42 U.S.C. § 4332(2)(E)).




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           When an agency violates Section 706(2) of the APA, courts “[o]rdinarily . . . vacat[e] [the]

 invalid agency action and remand[] the matter to the agency for further review.” Comite’ De Apoyo

 A Los Trabajadores Agricolas v. Perez, 774 F.3d 173, 191 (3d Cir. 2014); see also, e.g., United

 Steel v. Mine Safety & Health Admin., 925 F.3d 1279, 1287 (D.C. Cir. 2019) (“The ordinary

 practice [under the APA] is to vacate unlawful agency action.”). Indeed, Section 706(2) provides

 that a reviewing court “shall . . . hold unlawful and set aside” arbitrary, capricious, or otherwise

 unlawful agency action. 5 U.S.C. § 706(2) (emphasis added). Vacatur is particularly appropriate

 where “deficiencies in the challenged [agency action are] serious” and vacatur is not “likely to

 create any serious disruption.” Council Tree Commc’ns, Inc. v. F.C.C., 619 F.3d 235, 258 (3d Cir.

 2010) (citing Allied–Signal, Inc. v. Nuclear Regul. Comm’n, 988 F.2d 146, 150–51 (D.C. Cir.

 1993)).

                                             ARGUMENT

 I.        FWHA’s approach to mitigation violates Section 706(2)(A) because the agency failed
           to commit to sufficient enforceable mitigation measures to offset all significant
           impacts in New Jersey.

           On December 30, this Court held that “the Final EA and FONSI fail to provide a rational

 connection between the general mitigation commitments outlined and the specific resolution of

 any and all significant impacts that may result from the Program, whether those impacts are in

 New York or New Jersey” and thus “FHWA and Project Sponsors acted in an arbitrary and

 capricious manner in reaching their mitigation determination in the Final EA and FONSI.” ECF

 No. 191 at 52, 53. FHWA did not correct that violation in the Re-Evaluations or Supplemental

 Memorandum. Rather, in its Supplemental Memorandum, FHWA confirmed that it arbitrarily: (1)

 imposed a $100 million cap on place-based mitigation in the Final EA and FONSI before analyzing

 the environmental impacts of the adopted tolling scheme, and distributed that funding pool based

 on the population size of each community eligible for place-based mitigation measures, rather than


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 the intensity of the impacts due to congestion pricing; (2) failed to explain how the mitigation

 measures available to New Jersey communities would reduce all significant impacts to a level of

 insignificance; (3) provided no place-based mitigation measures to several communities in New

 Jersey that may experience significant impacts; and (4) never adequately explained why the Bronx

 gets such a disproportionate amount of the capped $100 million place-based mitigation pool. For

 each of these reasons, FHWA’s approach to mitigation remains arbitrary, capricious, an abuse of

 discretion, and otherwise not in accordance with law.

        First, FHWA worked backwards from a $100 million cap on place-based mitigation, rather

 than—as required under NEPA—assessing the environmental impacts of the congestion pricing

 scheme, determining whether any impacts were significant, and then allocating the appropriate

 amount of mitigation dollars necessary to alleviate those impacts.              See DOT_0037018;

 DOT_0045609; FHWA-0000017.            Specifically, FHWA distributed that pool “based on the

 proportion of the population in the census tracts of each community meeting the mitigation criteria

 as compared to the population of all the census tracts that meet the mitigation criteria.” FHWA-

 0000014. As a result, New Jersey communities received just $9.8 million.

        FHWA claimed this methodology would “ensure the Place-Based Mitigation funding is

 distributed equitably across the affected environmental justice population.” Id. Yet that reasoning

 is fundamentally inconsistent with NEPA’s directive and this Court’s order, which requires FHWA

 to ensure that all potential significant impacts will be mitigated, no matter the cost, before issuing

 a mitigated FONSI. See ECF No. 191 at 8 (agency “may issue a [mitigated] FONSI” only “if any

 predicted impacts will be mitigated to less than significant levels”) (citing 40 C.F.R. §§ 1501.6(a)

 & (c)); id. at 53 (recognizing the agency must ensure “the specific resolution of any and all

 significant impacts that may result from the Program”). Crucially, the Final EA, FONSI, Re-




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 Evaluations, and Supplemental Memorandum leave no room for FHWA or the Project Sponsors to

 remedy this deficiency at some later time. The agency has committed to a $100 million total place-

 based mitigation pool over the life of the program and will not alter the total or per-community

 allocations based on the actual observed impacts of congestion pricing. See FHWA-0000017–20.

        FHWA’s decision to “work[] backwards from the mitigation dollars [the Project Sponsors]

 could afford” meant that “[m]any mitigation decisions [were] based on cost alone,” and therefore

 FHWA’s “conclusion that its proposal would fully mitigate adverse impacts on [affected

 communities] was neither ‘rational [nor] based on consideration of the relevant factors’”—i.e., the

 significance of the impacts the agency must mitigate in order to issue a FONSI. Env’t Def. v. U.S.

 Army Corps of Eng’rs, 515 F. Supp. 2d 69, 85 (D.D.C. 2007) (quoting Ethyl Corp. v. EPA, 541

 F.2d 1, 36 (D.C. Cir. 1976)) (holding agency’s “mitigation proposal is arbitrary and capricious in

 violation of the APA”); see also Pa. Fed’n of Sportsmen’s Clubs, Inc. v. Kempthorne, 497 F.3d

 337, 347 (3d Cir. 2007). 2

        Second, FHWA never “adequately explain[ed]” how the three mitigation measures

 available to New Jersey communities would sufficiently alleviate the significant impacts of

 congestion pricing. See Public Citizen, Inc., 988 F.2d at 197 (agency must “adequately explain its

 result”). The four New Jersey communities that will receive place-based mitigation are eligible

 for only three measures: (1) installation of roadside vegetation; (2) renovation of parks and

 greenspace; and (3) installation of air filtration units in schools near highways. FHWA-0000018.

 Based on FHWA’s own analysis, these measures will not alleviate the community-wide impacts of




 2
  Although the phased-in tolling scheme will generate $0.5 billion, $0.7 billion, and $1 billion in
 annual revenues during Phases 1, 2, and 3, respectively, see infra at 15, the Project Sponsors
 committed only a fraction of that amount to place-based mitigation over the life of the project
 ($100 million) since most of the revenue was committed to the MTA to fund its capital projects.

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 congestion pricing. According to FHWA, installation of roadside vegetation will only “improve

 near-road air quality” and, together with the renovation of parks and greenspaces, will “help to

 improve community well-being” and could “reduc[e] air temperatures, reduc[e] stormwater runoff,

 provid[e] opportunities for exercise, and increas[e] social interaction”—none of which target the

 community-wide air pollution caused by congestion pricing. DOT_0045610 (emphasis added).

 Similarly, the installation of air filtration units in certain schools would only “improve indoor air

 quality in [those] schools,” not in the communities at large. Id. (emphasis added). 3

        Third, FHWA did not—and cannot—explain why only four New Jersey communities are

 eligible for place-based mitigation when the agency identified fifteen environmental justice

 communities in New Jersey with pre-existing air pollutant or chronic disease levels above the 90th

 percentile that “may need mitigation” because they will see increases in truck volume and,

 therefore, pollutants. DOT_0007319–20. 4 The arbitrary and capricious standard of the APA

 “mandat[es] that an agency take whatever steps it needs to provide an explanation that will enable

 the court to evaluate the agency’s rationale at the time of decision.” Pension Benefit Guar. Corp.

 v. LTV Corp., 496 U.S. 633, 654 (1990). Yet FHWA’s only proffered rationale is that place-based

 mitigation measures were limited to communities with both pre-existent pollutant and chronic




 3
   The cost to implement these measures also demonstrates that New Jersey’s communities will not
 receive benefits sufficient to alleviate the significant impacts of the congestion pricing scheme.
 For example, the City of Orange is set to receive just $900,000. DOT_0045609. FHWA’s
 estimates indicate that, at best, air filtration units will cost an average of $250,000 per school.
 FHWA-0000009. If Orange’s entire mitigation budget is allocated to this measure, fewer than 4
 schools in Orange would receive air filtration units. FHWA cannot claim this would sufficiently
 reduce significant impacts across the entire community when it has failed to provide any
 explanation as to how the allocated mitigation funding and the available mitigation measures will
 reduce significant impacts to a minimum. It thus has not “supplied convincing reasons why
 potential impacts are truly insignificant.” Lower Alloways Creek Twp. v. Pub. Serv. Elec. & Gas
 Co., 687 F.2d 732, 741–42 (3d Cir. 1982).
 4
   Re-Evaluation 1 identified fourteen such New Jersey communities. DOT_0045592–93.

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 disease burdens above the 90th percentile. See FHWA-0000005. 5 That does not explain why

 FHWA imposed this arbitrary “and”/“or” distinction, particularly given that “[t]he Final EA and

 FONSI define[d] an adverse effect as increases in truck traffic in currently overburdened

 environmental justice communities [chronic illness or pollutant burdens], relative to national

 percentiles.” FHWA-0000005 (emphasis and final set of brackets in original). Although FHWA

 claims that any significant impacts in these communities will be alleviated through regional

 mitigation measures, the agency never adequately explained that conclusion. Indeed, FHWA only

 described the region-wide benefits that could result from the regional mitigation measures, and not

 how they would alleviate the site-specific adverse impacts in the identified New Jersey

 communities.    See DOT_0045607–08.        But to issue a mitigated FONSI, the agency must

 “sufficiently demonstrate that the mitigation measures adequately address and remediate the

 [identified] adverse impacts so that they will not significantly affect the environment.” O’Reilly

 v. U.S. Army Corps. of Eng’rs, 477 F.3d 225, 234 (5th Cir. 2007); see also Idaho Sporting Cong.

 v. Thomas, 137 F.3d 1146, 1151 (9th Cir. 1998) (“The [agency] must provide analytical data

 supporting mitigation measures; otherwise, such measures constitute a ‘mere listing’ and fail to

 satisfy NEPA.”). This omission is particularly troubling because the significant impacts of

 congestion pricing will not be uniformly felt region wide. See, e.g., DOT_0045574 (“[E]ffects

 would vary in magnitude depending on . . . the extent of pre-existing pollutant and chronic disease

 burdens.”).




 5
   Even if this conclusion could be construed as a methodological choice, the Court must “defer to
 that choice” only “so long as it reflects rational decision-making and is adequately explained.”
 ECF No. 191 at 40 (citing Fed. Energy Reg. Comm’n, 867 F.3d at 1367–68) (emphasis added).
 FHWA’s choice satisfies neither requirement.

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        Fourth, FHWA never adequately explained why the Bronx will receive a disproportionate

 amount of the $100 million allocated to place-based mitigation. FHWA provided only $9.8 million

 in place-based mitigation to four New Jersey communities: Fort Lee, Orange, East Orange, and

 Newark. DOT_0045609. Meanwhile, FHWA allocated $90.1 million to New York communities,

 including $71.7 million to Bronx County alone. That is over fifty-one times the amount of

 mitigation funding allocated to Bergen County ($1.4 million) even though daily traffic increases

 in Bergen County will be two to four times greater than in the Bronx. See id.; DOT_0045462.

        This discrepancy is caused in part by FHWA’s irrational decision to distribute mitigation

 dollars based entirely on the population of each community eligible for place-based mitigation,

 without considering the severity of the impacts in each community. See supra at 9–10. This

 approach resulted in the agency arbitrarily committing tens of millions of dollars to certain Bronx

 County communities and mere fractions of that amount to certain New Jersey communities, even

 though congestion pricing would, in some instances, increase traffic more in the relevant New

 Jersey communities than in the Bronx. For example, FHWA committed $4.4 million in place-

 based mitigation to Northeast Bronx (Bronx County), which will experience a 0.8% increase in

 daily truck volume due to congestion pricing. See FHWA-0000015–17. Conversely, FHWA

 committed just $1.4 million to Fort Lee (Bergen County), which will experience a 1.6% increase

 in daily truck volume. See id.

                                                                 Northeast Bronx      Fort Lee
  Allocated Place-Based Mitigation Funding                       $4.4M                $1.4M
  Change in Daily Truck Volume Due to Congestion Pricing         +106                 +231
  % Change in Daily Truck Volume                                 0.8%                 1.6%

 By distributing mitigation dollars based purely on population, FHWA ignored that the severity of

 the impacts will differ between these communities. Even though Fort Lee will experience double

 the increase in truck traffic as the Northeast Bronx, it will receive less than one-third of the


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 mitigation funding. This disparity highlights the arbitrariness of FHWA’s population-based

 distribution of mitigation funds. Contra ECF No. 191 at 53.

 II.     FWHA’s alternatives analysis violates Section 706(2)(A) because it eliminated
         alternatives based on a requirement that it has since abandoned.

         “NEPA requires a detailed, meaningful alternatives analysis.” Friends of Cap. Crescent

 Trail, 877 F.3d at 1063 (citing 42 U.S.C. §§ 4332(C)(iii), (E)). Here, FWHA has fallen far short

 of that standard. In its initial, cursory analysis, the FWHA rejected out of hand a long list of

 alternatives because they purportedly did not meet one or more of the three project “objectives.”

 DOT_0036266. Most notably for the present purposes, the FWHA rejected three alternatives

 solely because they did not meet “Objective 3” which required the project to “generate sufficient

 annual net revenues to fund $15 billion for capital projects for MTA’s Capital Program.” Id. But

 as this court recognized, “subsequent developments in the structure of the Program” demonstrate

 that “FHWA’s and Program Sponsors’ reliance on Objective 3 (i.e., the funding objective) has

 diminished in relative importance” as FHWA has moved the revenue goal post with each change

 to the tolling scheme. ECF No. 191 at 61–62. The inability to explain those shifts or revisit

 potential alternatives in light of the repeatedly modified revenue objective demonstrates that

 FHWA did not take the “hard look” required under NEPA and renders the alternatives analysis

 arbitrary and capricious. 6

         In the Final EA, FHWA “assume[d] the Project should provide at least $1 billion annually

 in total net revenue” when evaluating which alternatives met the funding objective.

 DOT_0036300. But the Project Sponsors settled on a tolling scheme that failed to meet that target,



 6
          New Jersey raised other arguments regarding the inadequacy of the alternatives analysis
 that this Court addressed in its summary judgment opinion. See ECF No. 191 at 53–61. Here,
 New Jersey focuses only on the alternatives issue on which this Court remanded, while preserving
 its right to raise on appeal the other, already rejected challenges to FHWA’s alternatives analysis.

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 so they and FHWA adjusted their analysis in the first Re-Evaluation, “determin[ing] that annual

 net revenues in the range of $0.9 billion should be sufficient to meet the Project’s need to fund $15

 billion of capital projects.” DOT_0045449. Worse still, when the first six years of toll rates were

 further reduced, Re-Evaluation 2 utterly failed to explain how the novel phased-in scheme meets

 the funding objective. Indeed, Re-Evaluation 2 was contradictory, stating that “based on current

 interest rates and expected timing of projects, MTA’s Chief Financial Officer (CFO) determined

 that annual net revenues in the range of $0.9 billion should be sufficient to meet the Project’s need

 to fund $15 billion of capital projects” and that “MTA’s CFO has determined that the expected

 revenues to be collected under the Phase-In Approach would in combination still achieve the

 objective of funding $15 billion in capital projects to allow their completion on the same timeline

 as projected for the March 2024 Adopted Toll Structure.” DOT_0047555. But on the very same

 page, Re-Evaluation 2 projected that Phases 1 and 2 would raise only $0.5 billion annually and

 $0.7 billion annually, respectively. Id.

        In short, at the time of the Final EA, FHWA understood that meeting Objective 3 required

 $1 billion in revenue annually; by the time of the first Re-Evaluation, $0.9 billion sufficed; and by

 Re-Evaluation 2, an average of $0.6 billion for the first six years was still enough to fund capital

 projects to “allow their completion on the same timeline” initially contemplated. DOT_0047555.

 FHWA’s conclusory assertion that “the Program would still meet the Act’s mandate to raise

 sufficient revenues to fund $15 billion for capital projects” despite recognizing that “Phases 1 and

 2 would not raise as much annual revenue as the tolling scenarios studied in the EA or the March

 2024 adopted tolling scenario,” DOT_0047555–56; see also FHWA-0000022, is arbitrary and

 capricious because “when an agency changes its mind, ‘it must supply adequate data and a

 reasoned analysis to support the change.’” Lehigh Valley Farmers v. Block, 829 F.2d 409, 413 (3d




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 Cir. 1987) (citation omitted); see also F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502, 515

 (2009). This is even more so because FHWA failed to account for its own earlier, specific analysis

 about a $9 toll. In analyzing Tolling Scenario A, which evaluated a $9 toll without a cap on tolls

 charged to taxis and FHVs (that is, a scenario where taxis and FHVs were tolled just like regular

 passenger vehicles), the Final EA stated that if the Project Sponsors wanted to institute such a cap,

 “[t]o still meet the … revenue objective of the Project, tolls would need to be raised 10 percent to

 15 percent on all vehicle classes in Tolling Scenario A to offset forgone taxi and FHV

 revenues.” DOT_0036385; see also DOT_0036292. But Phase 1 of the now-adopted scheme

 utilizes a $9 toll with a lower per-ride toll for taxis and FHVs. FHWA fails to explain how this

 squares with its prior analysis that under a $9 toll scenario, taxis and FHVs would need to be

 charged similar rates as passenger vehicles on an uncapped basis to meet the revenue objective. 7

        Rather than engage in any analysis, FHWA relied (and still relies) on nothing more than

 the MTA CFO’s say-so as to why the decreased revenue projections still meet the funding

 objective.   See DOT_0047555–56; FHWA-0000022.              But neither Re-Evaluation 2 nor the

 Supplemental Memorandum provides any analysis to justify this conclusion.               Instead, the

 Supplemental Memorandum cites a declaration prepared by the MTA’s CFO on January 2, 2025,

 for purposes of litigation. That document, which post-dates Re-Evaluation 2, was not part of the

 record before FHWA months earlier and is an impermissible post hoc attempt to rationalize past,




 7
   In addition to the funding objective, the Final EA stated the same conclusion about needing to
 raise the toll above $9 to meet the congestion objective (“Objective 2”)—reducing the number of
 vehicles entering the CBD by 10%—if there were to be a cap for taxis and FHVs. See
 DOT_0036266; DOT_0036292; DOT_0036385. In the Re-Evaluations and on remand, FHWA
 never explains why that analysis no longer stands and why the congestion objective is met in Phase
 1, despite the per-ride fee taxis and FHVs, which is passed onto customers, and the $9 toll.

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 unreasoned decisions. 8 See Moret v. Karn, 746 F.2d 989, 992 (3d Cir. 1984) (“[T]his court is not

 free to uphold the agency's determination on the basis of a post-hoc rationalization by the

 government.”). Even if it could be considered, it demonstrates that the adopted tolling scheme

 will not generate sufficient revenues “on the same timeline” as projected in the Final EA, FONSI,

 and Re-Evaluation 1. See ECF No. 203 ¶ 9. In other words, to conclude that the adopted tolling

 scheme would meet the funding objective despite reduced revenue, the MTA’s CFO adopted a new

 methodology that assumed revenues could be raised over a much longer period. FHWA’s failure

 to revisit project alternatives that were excluded from consideration based on the MTA’s original

 approach to its funding objective is arbitrary. Especially given that dearth of explanation in the

 record, this Court should “take with a grain of salt the ‘self-serving views of the regulated entities,’

 such as those offered by the [MTA].” Spirit Airlines, Inc. v. U.S. Dep’t of Transp., 997 F.3d 1247,

 1257 (D.C. Cir. 2021) (citation omitted); see also Simmons v. U.S. Army Corps of Eng’rs, 120 F.3d

 664, 669 (7th Cir. 1997) (noting “the duty under NEPA to exercise a degree of skepticism in dealing

 with self-serving statements from a prime beneficiary of the project”). 9

        These unexplained changes undermine the alternatives analysis in the Final EA, which

 FHWA and the Project Sponsors never revisited. In the Final EA, FHWA rejected three alternatives

 solely because they would not meet the funding objective: (1) Alternative T-2 (tolling the East and

 Harlem River Bridges); (2) Alternative O-4 (prohibiting vehicles from entering the CBD on certain



 8
   The supplemental administrative record, which reflects all agency deliberations and decisions
 through the Re-Evaluations, see ECF No. 184, confirms that no additional analysis regarding the
 revenue requirement was ever provided to FHWA in connection with Re-Evaluation 2. The only
 document provided to the agency in connection with its approval of Re-Evaluation 2 was a draft
 of the re-evaluation prepared by the MTA. See DOT_0047520–40.
 9
   New Jersey does not question how the MTA defines the project goals. Instead, New Jersey
 accepts the funding objective as defined by the MTA and FHWA since the start of this process—
 which served as a basis for rejecting numerous alternatives in the Final EA—and challenges the
 agency’s inconsistent statements as to how much revenue is needed to meet that objective.

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 days based on license plate number); and (3) Alternative O-5 (prohibiting single-occupant vehicles

 from entering the CBD on weekdays between 6 a.m. and 10 a.m.). See DOT_0036267. FHWA’s

 dismissal of these alternatives based on their failure to meet the funding objective cannot be

 deemed “rational decision-making,” see ECF No. 191 at 60, unless the adopted project does meet

 that objective. In other words, it would be arbitrary to reject three alternatives because they fail to

 meet the funding objective, while selecting a plan that also fails to meet that goal. 10 See Nat’l Res.

 Def. Council v. Nuclear Regul. Comm’n, 879 F.3d 1202, 1214 (D.C. Cir. 2018) (“[I]t would be

 arbitrary and capricious for the agency’s decision making to be internally inconsistent.” (cleaned

 up)). Because FHWA has wholly failed to explain how the phased-in scheme meets the funding

 objective despite failing to raise the annual revenue previously determined to be necessary, its

 rejection of other alternatives based solely on their failure to meet that objective was arbitrary and

 capricious and the Final EA and FONSI must be “set aside” under NEPA. 5 U.S.C. § 706.

 III.   FWHA’s environmental analysis violates Section 706(2)(A) because the agency never
        assessed the environmental impacts of the adopted tolling scheme.

        NEPA requires that an agency continue to take a “hard look” at the environmental effects

 of its planned action even after the agency grants initial approval. Marsh, 490 U.S. at 374; 42

 U.S.C. §§ 4321 et seq. For that reason, an agency must prepare a supplemental environmental

 review whenever it “makes substantial changes to the proposed action that are relevant to

 environmental concerns.” 40 C.F.R. § 1502.9(d)(1)(i); see also 23 C.F.R. § 771.130(c). In the

 context of a re-evaluation, FHWA must (i) “clearly document the change that triggers the

 reevaluation”; (ii) “document the changes in environmental impacts or mitigation . . . and describe


 10
   That there was purportedly “no law or agreement in place between the City of New York and
 MTA that would direct the revenue to the MTA,” under Alternative T-2, DOT_36268, is inapposite
 because this only explains why that alternative supposedly does not meet the revenue objective.
 Assuming that alternative did not meet the revenue objective, rejecting it on that basis is arbitrary
 and capricious where the approved project also fails to meet that objective.

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 how the impact will be different from what was previously described”; and (iii) “determine

 whether the original environmental decision remains valid after comprehensively considering the

 changes.” 11 The Supplemental Memorandum shows that FHWA failed to assess the environmental

 impacts of the adopted tolling scheme at all (let alone adequately).            That abdication of

 responsibility is arbitrary, capricious, and unlawful under NEPA.

        FHWA claims it did not need to do this analysis because (1) the environmental effects of

 the phased-in tolling scheme would “fall within the ranges studied in the Final EA,” which FHWA

 assumes is true because the Phase 1 and 2 “peak tolling rates” fall within the range studied in the

 Final EA; and (2) the Phase 3 tolling rate is the same as that considered in Re-Evaluation 1.

 FHWA-0000024. FHWA, though, fails to account for the other differences between the seven

 tolling scenarios studied in the Final EA and the final tolling scheme. As an initial matter, none of

 the tolling scenarios considered in the Final EA or Re-Evaluation 1 resemble a phased tolling rate.

 Further, unlike the phased-in tolling scheme, the scenarios assessed in the Final EA: (i) subjected

 taxis and FHVs to the same tolling rates as passenger vehicles and imposed no daily toll cap for

 taxis and FHVs; (ii) set peak tolling hours between 6AM and 8PM on weekdays and 10AM to

 10PM on weekends; (iii) in some instances, provided tolling credits for the Lincoln, Holland, Hugh

 L. Carey, and Queens-Midtown Tunnels ranging from 47% to 69% of the peak passenger tolling

 rate; 12 and (iv) tolled vehicles both when they entered the CBD and as they remained in the CBD,



 11
    FHWA, NEPA Re-Evaluation Joint Guidance for Federal Highway Administration (FHWA),
 Federal Railroad Administration (FRA), & Federal Transit Administration (FTA) (2019),
 https://www.environment.fhwa.dot.gov/legislation/nepa/Reevaluation_guidance_08142019.aspx
 (emphasis added).
 12
    Tolling Scenario C ($14 base toll) provided a crossing credit of “[u]p to $6.55” for the Queens-
 Midtown, Hugh L. Carey, Lincoln, and Holland Tunnels. Tolling Scenarios D ($19 base toll) and
 E ($23 base toll) provided a crossing credit of “[u]p to $13.10” for the same four tunnels. Tolling
 Scenario F ($23 base toll) provided a crossing credit of “[u]p to $13.10” for the four tunnels and



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 as required by the MTA Reform and Traffic Mobility Act. DOT_0036292; DOT_0004586–87;

 DOT_0036271. Conversely the final scheme: (i) subjects taxis and FHVs to a reduced per-ride

 tolling rate ($0.75 for taxis, green cabs, and FHVs on trips, and $1.50 for FHVs on trips dispatched

 by high-volume for-hire services); (ii) sets peak tolling hours between 5AM and 9PM on weekdays

 and 9AM to 9PM on weekends; (iii) provides a 33% tolling credit for the Lincoln and Holland

 Tunnels, and a 17% credit for the Hugh L. Carey and Queens-Midtown Tunnels; and (iv) only tolls

 vehicles upon entry into the CBD, regardless of how long they remain. See DOT_0047551–52. 13

        These changes have important implications for traffic diversions that were not “account[ed]

 for” in the Final EA as required by NEPA. See Lemon v. McHugh, 668 F. Supp. 2d 133, 142

 (D.D.C. 2009). For example, the increased peak tolling hours will cause a greater number of traffic

 diversions from the CBD. Subjecting taxis and FHVs to a per-ride toll that is passed onto

 customers, versus an uncapped toll at the same rate set for passenger vehicles, provides a much

 lower disincentive to travel into the CBD. The change in crossing credits will cause toll shopping

 and therefore meaningfully impact traffic diversions. The shift from an “entry and exit” toll to an

 “entry only” toll will also alter predicted environmental impacts, since vehicles entering Manhattan

 for an extended period will be less likely to divert from entryways into the CBD. 14 Finally, the




 the Robert F. Kennedy, Henry Hudson, and George Washington Bridges. Tolling Scenarios A, B,
 and E ($9, $10, and $12 base tolls), which assessed base tolling rates closest to those in Phases 1
 and 2 ($9 and $12 base tolls) provided no crossing credits. DOT_0004586–87.
 13
    The adopted tolling scheme also allows the MTA to “charge a 25% higher CBD charge” on
 designated “Gridlock Alert Days.” DOT_0047551–52. The impact of this variable surcharge was
 never assessed in the Final EA and FONSI even though it would impact traffic diversions. See
 DOT_0047554 (“[T]he modeling conducted for the Project does not reflect this higher toll . . . .”).
 14
    Rather than divert to North New Jersey to enter Manhattan via the George Washington Bridge,
 these vehicles, as well as taxis and FHVs, would be more likely to enter the CBD through the
 Holland and Lincoln Tunnels, which could increase traffic and require additional place-based
 mitigation funding in surrounding New Jersey communities, such as Newark.

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 use of a phased tolling rate—which was never assessed in the Final EA—has implications on short-

 and long-term traffic diversions.

        Nothing in the Final EA “so much as hinted at” these new and changed elements, and “there

 is no direct or reliable way to compare the [environmental] effects of these changes” to those

 elements previously analyzed because Re-Evaluation 2—the only environmental review document

 prepared after the MTA adopted the phased tolling scheme—contains no new environmental

 analysis. N.M. ex rel. Richardson v. Bureau of Land Mgmt., 565 F.3d 683, 707 (10th Cir. 2009). 15

 FHWA’s failure to assess the final tolling scheme thus violates NEPA and the APA.

 IV.    These errors require vacating the agency actions.

        As for remedy, these errors necessitate vacating the Final EA and FONSI. 16 That is the

 “ordinary practice” under the APA, and this is not one of the “rare cases” that is an exception to

 the ordinary rule. United Steel, 925 F.3d at 1287.

        To start, the deficiencies identified here are “serious.” Council Tree Commc’ns, Inc., 619

 F.3d at 258. The identification of enforceable mitigation measures that will reduce otherwise

 significant environmental impacts to a level of insignificance is foundational to a mitigated FONSI



 15
    FHWA’s failure to evaluate the environmental impacts of the phased-in scheme undercuts
 NEPA’s “twin aims” of informed agency decision-making and public access to information.
 Marsh, 490 U.S. at 371. Based on the Final EA, New Jersey and other stakeholders could not have
 anticipated, for instance, a phased-in tolling rate, a per-ride toll for taxis and FHVs, or peak tolling
 hours in excess of 6AM and 8PM on weekdays and 10AM to 10PM on weekends. The MTA’s
 eventual inclusion of these elements diluted the relevance of public comment on the Final EA.
 See, e.g., Dubois v. U.S. Dep’t of Agric., 102 F.3d 1273, 1293 (1st Cir. 1996) (“[P]ublic commenters
 might have pointed out, if given the opportunity—and the [agency] might have seriously
 considered—wholly new problems posed by the new [project] configuration.” (emphasis added)).
 16
    New Jersey welcomes further briefing on remedy, but briefly advances these arguments here to
 ensure that they are before the Court in the case that no separate briefing is ordered. See, e.g.,
 Cigar Ass’n of Am. v. U.S. Food & Drug Admin., No. 16-cv-01460 (APM), 2022 WL 2438512, at
 *9 (D.D.C. July 5, 2022), subsequent determination, 2023 WL 5094869 (D.D.C. Aug. 9, 2023),
 rev’d and remanded by 2025 WL 286514 (D.D.C. Jan. 24, 2025) (ordering separate briefing on
 remedy after holding agency action to be arbitrary and capricious).

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 like this one; otherwise, the significant environmental impacts require preparation of an EIS.

 FHWA and the MTA have failed to identify any situation, outside this Court’s prior order, where a

 court has found a mitigation error in a FONSI and remanded without vacatur. That makes sense,

 because “where an agency’s NEPA review suffers a ‘significant deficiency’”—like failing to

 commit adequate mitigation measures—“refusing to vacate the corresponding agency action

 would ‘vitiate’ the statue.” Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 985 F.3d

 1032, 1052 (D.C. Cir. 2021). The other two errors alleged here are similarly serious. “There is no

 dispute that the consideration of alternatives is a vital part of the NEPA process.” Clairton

 Sportsmen’s Club v. Pa. Tpk. Comm’n, 882 F. Supp. 455, 476 (W.D. Pa. 1995); see also Ctr. for

 Biological Diversity v. Nat’l Highway Traffic Safety Admin., 538 F.3d 1172, 1217 (9th Cir. 2008)

 (“The alternatives section is the ‘heart’ of an EIS.” (quoting 40 C.F.R. § 1502.14(a)); Webster v.

 U.S. Dep’t of Agric., 685 F.3d 411, 427 (4th Cir. 2012) (similar). And it is hard to imagine a more

 fundamental defect than failure to analyze the adopted scheme altogether.

        On the other side of the ledger, vacatur is not “likely to create any serious disruption.”

 Council Tree Commc’ns, Inc., 619 F.3d at 258. Because the tolling program can largely be turned

 on and off with the flip of a switch, halting congestion pricing will not seriously disrupt the ability

 of the program to resume in the future, if FHWA and the Project Sponsors are later able to comply

 with their NEPA obligations. In the meantime, the necessary equipment can remain in place.

        Moreover, the fact that this Court remanded this matter previously and FHWA failed to

 correct the identified deficiencies counsels in favor of vacatur. That the agency’s actions and

 explanations remain insufficient despite this Court pinpointing the flaws in the Final EA suggests

 that the Administration is unable to “create a supportable action.” ECF No. 212 at 59 (Jan. 3, 2025

 hearing transcript). As the D.C. Circuit explained in analogous circumstances, the agency’s




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 “failure to comply with [a] remand order … counsels toward vacatur, since it has yet again come

 up with insufficient support” for the action. Am. Pub. Gas Ass’n, 72 F.4th at 1343 (cleaned up);

 see also id. (“We see no reason to break from our established practice when for the second time

 ‘we are not persuaded it was reasonable for the Secretary to conclude the Final Rule was supported

 by clear and convincing evidence.’”). More fundamentally, FHWA “is not entitled to a second bite

 of the apple” (here, a third bite) “just because it made a poor decision—if that were the case,

 administrative law would be a never ending loop from which aggrieved parties would never receive

 justice.” McDonnell Douglas Corp. v. NASA, 895 F. Supp. 316, 319 (D.D.C. 1995).

         Relatedly, this Court’s reasoning for previously remanding without vacatur is no longer

 applicable. See ECF No. 212 at 58–61. As to the mitigation issue, this Court suggested that the

 agency could cure its deficiencies on remand—but, given the opportunity, FHWA has now shown

 that it cannot do so. Moreover, the Court suggested that mitigation is simply about “paying out of

 tolling funds or other financial resources,” id. at 60, but it is now evident that the issues go far

 beyond “mitigation dollars,” id., because they are also about the type of mitigation measures

 available and whether some communities will receive mitigation at all or if they will instead face

 significant environmental impacts as a result of the congestion pricing program and despite no EIS

 being prepared, see supra at 8–14. Lastly, this Court’s prior analysis expressly declined to address

 whether the other deficiencies identified here justify vacatur. See id. (“On the issue of alternatives,

 the Court finds that the issue of vacatur is premature.”). Now is the time to do so.

                                           CONCLUSION

        For all these reasons, the Court should hold that FWHA acted arbitrarily and capriciously

 in violation of the APA and NEPA, grant summary judgment to New Jersey, and vacate the Final

 EA and FONSI.




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  Dated: New York, New York           By: /s/ Randy M. Mastro
         February 7, 2025                 Randy M. Mastro (NJ Bar No. 011681982)
                                          Craig Carpenito (NJ Bar No. 027102000)
                                          Jessica Benvenisty (pro hac vice)
                                          Lauren Myers (pro hac vice)
                                          Camilla Akbari (pro hac vice)
                                          KING & SPALDING LLP
                                          1185 Avenue of the Americas, 34th Fl.
                                          New York, New York 10036
                                          Tel. (212) 556-2100

                                             Peter Hsiao (pro hac vice)
                                             KING & SPALDING LLP
                                             633 West Fifth Street, Suite 1600
                                             Los Angeles, CA 90071
                                             Tel. (213) 433-4355

                                             Cynthia AM Stroman (pro hac vice)
                                             KING & SPALDING LLP
                                             1700 Pennsylvania Avenue, NW, Suite 900
                                             Washington, DC 20006-4704
                                             Tel. (202) 737-0500

                                             Attorneys for Plaintiff




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                                  CERTIFICATE OF SERVICE

        I hereby certify that a copy of the above and foregoing document was filed electronically
 with the above-captioned court, with notice of case activity to be generated and sent electronically
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 Date: February 7, 2025                        /s/ Randy M. Mastro
                                               Randy M. Mastro




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